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                                                 Exhibit A
                                          Statement of Claim
                                       Plaintiff Melinda Michaels

  Unpaid Minimum Wages
                                                                Minimum         Total
                                    Average                                                   Total




                         Weeks¹
                                                     Amount      Wage          Unpaid
       Period¹                    Weekly Hours                                             Liquidated
                                                      Paid¹      Hourly       Minimum
                                    Worked¹                                                Damages¹
                                                                 Rate¹         Wages¹
   9/30/21 - 6/28/22    38.86          37        $        -   $      10.00   $ 14,377.14   $   14,377.14
   2/27/21 - 9/29/21    29.71          37        $        -   $       8.65   $ 9,510.06    $    9,510.06
    1/1/21 - 2/26/21     8.14          91        $        -   $       8.65   $ 6,409.65    $    6,409.65
    1/1/20 - 12/31/20   52.29          91        $        -   $       8.56   $ 40,728.48   $   40,728.48
   9/27/19 - 12/31/19   13.71          91        $        -   $       8.46   $ 10,558.08   $   10,558.08
                                                                             $ 81,583.41   $   81,583.41

                                                          Total Unpaid Minimum Wages¹ = $ 81,583.41
                                                             Total Liquidated Damages¹ = $ 81,583.41
                                                                                 Total¹ = $ 163,166.82




  ¹ Numbers are averages, estimates, and/or approximates. Numbers may change as information is
  uncovered through the discovery process.
